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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                     CASE NO. 16-24818-CIV-MARTINEZ/GOODMAN

  JAMIE BRYANT,

        Plaintiff,

  v.

  WAL-MART STORES, INC.,

        Defendant.
  __________________________/

              POST-DISCOVERY HEARING ADMINISTRATIVE ORDER

        On September 27, 2019, the Undersigned held a hearing on the parties’ discovery

  disputes. [ECF Nos. 86; 95]. At the hearing, the Undersigned ordered as follows:

        Defendant may include an “Attorney’s Eyes Only” provision in the proposed order

  regarding confidential information. However, Defendant shall draft a more-specific

  definition of what information is subject to the designation “Attorney’s Eyes Only.” The

  parties shall confer, and if they agree on the definition, submit an agreed “Protective

  Order for Confidential Information” by October 4, 2019. If the parties cannot agree on the

  definition, then Defendant shall submit a proposed version reflecting the disputed

  language.

        Plaintiff’s counsel is advised to consider whether his client will actually be

  prejudiced with an “Attorney’s Eyes Only” designation before asserting with the
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  Undersigned any challenges to that designation on particular documents. If Defendant

  applies the designation in an overly broad way but the over-designation does not

  generate substantive prejudice, then there is no need to take up the Court’s time with a

  dispute having no tangible consequences. Based on the nature of the proposed class

  action here and Plaintiff’s role in it, the Undersigned does not now discern any scenario

  where Plaintiff’s inability to see certain documents because of an over-designation of the

  “Attorney’s Eyes Only” classification would generate tangible prejudice.

        In addition, defense counsel is reminded that if Defendant proposes an overly

  broad definition that requires an additional discovery hearing, then the Undersigned

  follows Federal Rules of Civil Procedure, Rule 37, which mandates a fees-shifting award

  to the prevailing party in a discovery dispute in the absence of limited exceptions (which,

  in the Undersigned’s experience, are often not present).

        Once the order is in place, Defendant will be free to designate documents

  appropriately as “Attorney’s Eyes Only” and/or “Confidential.” But if Defendant is over-

  designating every document (or nearly every document) as “Attorney’s Eyes Only”

  and/or “Confidential,” and Plaintiff successfully mounts a challenge revealing prejudice

  to her, then the Court intervention might produce a fees-shifting award.

  `     On the other hand, if Plaintiff pursues a designation challenge which, even if

  technically correct, does not involve substantive prejudice, then the fees-shifting award

  may well go the other way.


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        At the risk of stating the obvious, the Undersigned expects the parties to be

  reasonable and to avoid producing illusory discovery disputes which do not create a bona

  fide need for a hearing. I’m more than willing to have a hearing on legitimate discovery

  disputes, but I hope to avoid those which, on balance, are unnecessary.

        DONE AND ORDERED in Chambers, in Miami, Florida, on September 30, 2019.




  Copies furnished to:
  The Honorable Jose E. Martinez
  All counsel of record




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